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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
PETER P. STRZOK,                            )
                                            )
                Plaintiff,                  )
                                           )    Civil Action No. 19-2367 (ABJ)
        v.                                  )
                                            )
ATTORNEY GENERAL MERRICK B.                 )
GARLAND, in his official capacity, et al.,  )
                                            )
                Defendants.                 )
                                            )
                                            )
                                            )
LISA PAGE,                                  )
                                            )
                Plaintiff,                  )
                                            )   Civil Action No. 19-3675 (TSC)
        v.                                  )
                                            )
U.S. DEPARTMENT OF JUSTICE, et al.,         )
                                            )
                Defendants.                 )
                                            )
                                           )
                                           )
ATTORNEY GENERAL MERRICK                   )
GARLAND, in his official capacity, UNITED  )
STATES DEPARTMENT OF JUSTICE, FBI          )
DIRECTOR CHRISTOPHER A. WRAY, in his )
official capacity, FEDERAL BUREAU OF       )
INVESTIGATION,                             )
                                           )
                            Movants,       )
                        v.                 )      Case No.: 1:22-mc-27 (ABJ)
                                           )
PETER P. STRZOK                            )
                                           )
IN RE SUBPOENA SERVED ON                   )
DONALD J. TRUMP                            )
                                           )
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     DEFENDANTS’ RESPONSE TO PETER P. STRZOK’S SEPTEMBER 29, 2022
          NOTICE LISTING AREAS OF INQUIRY FOR DEPOSITIONS
                    AT ISSUE IN MOTIONS TO QUASH

       Defendants submit this response to Mr. Strzok’s September 29, 2022 Notice pursuant to

the Court’s August 10, 2022 Minute Order. As required by the Court’s Order, Defendants have

limited their discussion to the Presidential Communications Privilege and the Deliberative Process

Privilege.1

       In the responses below, Defendants follow the format established by Mr. Strzok in his

Notice, which provided “topic areas and questions” that Mr. Strzok proposes to ask of former

President Trump and Director Wray, if given the opportunity. Pl.’s Notice at 1. Per the Court’s

instruction, Defendants have endeavored to inform the Court as to the specific questions to which

Defendants would object and instruct not to answer with respect to the Presidential

Communications Privilege or the Deliberative Process Privilege. As a matter of process, and in the

ordinary course, after the government objects to questioning on such grounds, the opposing party

would decide whether to move to compel, whereupon the government would consult with the

incumbent President respecting whether and to what extent he would perfect the assertion of

privilege. Accordingly, Defendants understand the current briefing to serve the function of

identifying where Defendants would raise such objections in the first instance, given the

“presumptive privileged nature” of some possible answers to the proposed questioning, to preserve

the President’s ability to perfect the privilege. Alexander v. FBI, 186 F.R.D. 128, 136 (D.D.C.


       1
          Defendants respectfully note their disagreement with Mr. Strzok’s characterization of a
number of statements in his Notice. Defendants are mindful, however, of the Court’s order that
neither Mr. Strzok’s Notice nor the instant filing “may include any additional commentary with
respect to relevance or the apex doctrine.” Aug. 10, 2022 Minute Order. Accordingly, Defendants
do not address those contentions here; Defendants will respond as necessary in their October 28,
2022 brief on the applicability of asserted privileges. Further, Defendants’ summaries of the topic
headings herein are for convenience only and are not intended to imply any concession that the
descriptions accurately reflect events that occurred.
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1998). See also Protective Assertion of Executive Privilege Regarding White House Counsel’s

Office Documents, 20 Op. O.L.C. 1, 1 (1996) (opinion of Reno, Att’y Gen.).

       Moreover, to the extent Mr. Strzok would propose to ask, or actually ask, additional

questions not specifically identified in Mr. Strzok’s Notice—including follow-up or clarifying

questions or sub-part questions—Defendants would, of course, need to evaluate those questions

on a case-by-case basis to determine whether the Presidential Communications Privilege or the

Deliberative Process Privilege may apply to any response. For example, while we indicate below

that we would not assert the Presidential Communications Privilege to the proposed question of

“whether [former President Trump] has any notes, memos, recordings or other memorialization”

of an alleged presidential meeting, we would likely instruct the witness not to disclose the content

of any such notes, etc., that document the former President’s nonpublic communications with his

close advisors to the extent it appears that such communications might have been offered as part

of a process of presidential decision-making. We may also instruct the witness not to disclose the

content of any such notes, etc. about topics that do not pertain to Mr. Strzok, pursuant to the

Deliberative Process Privilege.

       Finally, as discussed below, there may be instances—if either of their depositions were to

proceed—in which the former President or Director Wray could respond without revealing

privileged information, depending on their specific testimony. If that situation were to arise,

Defendants would permit that testimony to proceed to the extent potentially privileged information

would not be divulged.

A.     Topics Proposed by Mr. Strzok for Inquiry of Mr. Trump

1.     “January 22, 2018 Meeting” and 2. “January 23, 2018 Meeting”: Most of the questions

under these headings propose to ask about nonpublic conversations of former President Trump



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with his close advisors, some or all of which may have been in the service of presidential decision-

making. Defendants therefore anticipate they would object and instruct the witness not to answer

the specific questions included under these headings on the basis of the Presidential

Communications Privilege, except for the proposed questions regarding former President Trump’s

demeanor during the alleged meetings or whether he has “any notes, memos, recordings or other

memorialization” of the alleged meeting. Pl.’s Notice at 2. To the extent any of the questions are

phrased so broadly as to cover pre-decisional executive branch deliberations that do not pertain to

Mr. Strzok (e.g., “what action items he gave to them as a result of the meeting”), Defendants

anticipate objecting and instructing the witness not to answer on the basis of the Deliberative

Process Privilege.

       Depending on the former President’s testimony were a deposition to go forward, however,

it may be possible for him to answer without revealing information as to which a privilege claim

might be asserted. As with other witnesses, Defendants would permit the former President to

answer in those circumstances. Defendants’ September 29, 2022 filing, which addressed the

depositions of former Deputy Attorney General Rod Rosenstein and former FBI Deputy Director

David Bowdich, refers to several instances where those witnesses were permitted to answer

questions that touched on meetings with former President Trump. ECF No. 90 at 2-4. See also,

e.g., Bowdich Dep. at 142:9-17




                                           ; Rosenstein Dep. 366:5-18




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                                                                        ); id. 369:19-370:15 (




       3.      “June 15, 2018 Meeting”: Similarly, most of the questions under this heading

propose to ask about nonpublic conversations of former President Trump with his close advisors,

some or all of which may have been in the service of presidential decision-making. Defendants

therefore anticipate they would object to, and instruct not to answer on the basis of the Presidential

Communications Privilege and (to the extent the questions are about topics that do not pertain to

Mr. Strzok) the Deliberative Process Privilege, the following questions: “what [former President

Trump] recalls of that June 15 meeting, including whether any policy or other decisions were being

deliberated during the meeting, and if so what they were . . . , what he learned about the IG report

[at that meeting], [and] what questions if any he had about it.” Pl.’s Notice at 3. Defendants

anticipate they would object to, and instruct not to answer on the basis of the Presidential

Communications Privilege, the following questions: “what if anything [former President Trump]

said about Peter Strzok, including about Strzok’s employment status and potential discipline, what

if anything he was told about Strzok’s likely discipline, whether he gave any other instructions or



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expressed opinions about actions to be taken against Strzok, . . . whether he made any statements

about the text messages or about Strzok more generally, such as that he engaged in ‘treason,’ had

been ‘disloyal,’ was part of the ‘deep state,’ or about the consequences for the FBI, the Director,

the Deputy Director, or others if Strzok was not fired. . . . why he made any such statements, what

his goals and/or motivations were, . . . [and] whether any action items were issued.” Id. at 3-4.

       Defendants anticipate they would not object to the proposed question about what former

President Trump’s demeanor was like during the alleged June 15, 2018 meeting or whether there

is “any memorialization of the meeting.” Id. at 4

       As noted above, it is possible that the former President’s testimony in response to the

questions identified under this topic would not reveal the substance of nonpublic communications

of former President Trump with his close advisors. As with other witnesses, as illustrated by the

testimony included in Defendants’ September 29 filing and the other examples provided above,

Defendants would permit the former President to answer to the extent it would not do so.

       4.      “Communications between December 2, 2017 and June 15, 2018”: Defendants

anticipate they would object to, and instruct not to answer on the basis of the Presidential

Communications Privilege, the following questions to protect any nonpublic communications

between President Trump and his close advisors: “what if any communications [former President

Trump] had [regarding Mr. Strzok] with anyone at DOJ or the FBI about his public statements,

their meaning, and/or their intended effect,” to the extent those DOJ or FBI personnel were

sufficiently close advisors of the former President; and “whether the DOJ or FBI made any effort

to persuade President Trump not to make false accusations against Mr. Strzok [in those

communications], for example in response to President Trump’s assertion that Mr. Strzok had




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committed ‘treason,’ and how President Trump reacted to any such efforts,” subject to the same

caveat. Id. at 4.

        Again, it is possible that the former President’s answers to the questions identified under

this topic would not reveal the substance of nonpublic communications of former President Trump

with his close advisors that were connected to possible presidential decision. In that case, as with

other witnesses, Defendants would permit the former President to answer to the extent they do not.

Depending on how he came to acquire the information, the former President may, for example, be

able to provide non-privileged answers to the questions of “how [he] first learned of Mr. Strzok

and Ms. Page’s text messages” and “whether he was aware that his purported supporters made

death threats and/or engaged in other menacing actions against Strzok and/or Page and their

families, and what efforts he made, if any, to curtail those types of actions.” Id. In addition,

Defendants would not object on the basis of either privilege to questions about former President

Trump’s public statements or about what he intended to accomplish by them.

        5.      “Communications between June 15, 2018 and August 10, 2018”: Defendants

anticipate they would object to, and instruct not to answer on the basis of the Presidential

Communications Privilege, the following questions about former President Trump’s nonpublic

communications with his close advisors, some or all of which may have been in the service of

presidential decision-making: “communications he had with anyone at DOJ and the FBI between

those dates regarding Mr. Strzok,” to the extent any such DOJ or FBI personnel were sufficiently

close advisors of the former President; and “whether the DOJ or FBI ever informed him that its

Office of Professional Responsibility decided not to fire Strzok, [and] how he reacted or would

have reacted to that information,” with the same caveat. Id. at 5. It is unclear whether a question

about “what understandings other officials at the White House, DOJ, and FBI had about his likely



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reaction and about his basis for any such understandings” would reveal the substance of

presidential communications—because Defendants do not know the basis for those

“understandings.” Id. For that reason, Defendants cannot predict whether they would object on the

basis of the Presidential Communications Privilege to that question.

       Defendants would not object on the basis of the Presidential Communications Privilege or

the Deliberative Process Privilege to questions about former President Trump’s public statements

or about what he intended to accomplish by them.

       6.      “Communications Following August 10, 2018”: Defendants would not object on

the basis of the Presidential Communications Privilege or the Deliberative Process Privilege to the

questions identified under this topic, all of which relate to the former President’s public statements.

       7.      “Origins of the Disclosure to the Press of Text Messages”: This topic proposes

a single yes-or-no question—i.e., whether former President Trump “ever learned the identity of

the person who leaked the existence of Mr. Strzok and Ms. Page’s text messages to the press in

November or December 2017.” Defendants would not object on the basis of the Presidential

Communications Privilege or the Deliberative Process Privilege to that question.

       8.      “Retained Documents Relating to Strzok and/or Page”: Defendants do not

anticipate they would object on the basis of the Presidential Communications Privilege or the

Deliberative Process Privilege to the questions under this heading, which do not on their face ask

about nonpublic communications or deliberations of former President Trump while he was

President.

B.     Topics Proposed by Mr. Strzok for Inquiry of Director Wray

       1.      “January 22, 2018 Meeting”: Because Section B, ¶ 1 of Mr. Strzok’s Notice

incorporates “similar questions to those under Section A, ¶ 1,” most of the questions under this



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heading similarly propose to ask about nonpublic conversations of former President Trump with

his close advisors, some or all of which may be connected to presidential decision-making, and

Defendants incorporate their response to Section A, ¶ 1 above.

       Defendants would not object on the basis of the Presidential Communications Privilege or

the Deliberative Process Privilege to the additional questions of whether Director Wray “saw

and/or responded to the news reports regarding that meeting” or questions about “any briefings

regarding that meeting that he gave to any of his staff, including his Deputy Director, and what

statements, if any, they made about the topics of the meeting,” id., except to the extent such

testimony does not pertain to Mr. Strzok or would reveal the substance of nonpublic

communications of former President Trump with his close advisors.

       2.      “January 23, 2018 Recap from AG Sessions”:

       Defendants anticipate they would object to, and instruct not to answer on the basis of the

Presidential Communications Privilege, the questions “what then AG Jeff Sessions told [Director

Wray] about any discussion he had with President Trump on January 23, 2018” and “what

discussions he had with other FBI officials about the [alleged] Sessions/Trump meeting,” to protect

any nonpublic conversations of former President Trump with his close advisors connected to

presidential decision-making. Id. at 6. However, as with other witnesses, Defendants would permit

Director Wray to answer to the extent it would not reveal such potentially privileged information.

See, e.g., Defs’ Sept. 29 filing; Bowdich Dep. at 142:9-17; Rosenstein Dep. at 366:5-18; id.

369:19-370:15.

       Defendants would not object on the basis of the Presidential Communications Privilege or

the Deliberative Process Privilege to the question of whether Director Wray “saw any news reports

regarding [the alleged] meeting.” Pl.’s Notice at 6.



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       3.      “June 15, 2018 Meeting”: Defendants would not object on the basis of the

Presidential Communications Privilege or the Deliberative Process Privilege to the question of

whether Director Wray attended the alleged June 15 meeting. Defendants further incorporate their

response to Section A, ¶ 3 above, regarding the same questions about this alleged meeting.

Defendants would not object on the basis of the Presidential Communications Privilege or the

Deliberative Process Privilege to the additional question “about any briefings he gave his staff,

including his Deputy Director, about the June 15 meeting,” id. at 6, except to the extent such

testimony would reveal the substance of nonpublic communications of former President Trump

with his close advisors.

       4.      “Midyear Investigation Report and Response”: Defendants would object to and

instruct not to answer on the basis of the Deliberative Process Privilege the question under this

heading, except to the extent such testimony relates specifically to the OIG’s findings or

conclusions regarding Mr. Strzok.

       5.      “Statements that Disciplinary Process Would Follow Established Procedures

and Wray Would Not Intervene”: Defendants would not object on the basis of the Presidential

Communications Privilege or the Deliberative Process Privilege to the questions under this

heading.

       6.      “Communications with Deputy Director Bowdich and Delegation of Authority

re Strzok”: Defendants would not object on the basis of the Presidential Communications

Privilege or the Deliberative Process Privilege to the questions under this heading.

       7.      “Communications with AG Sessions and/or DAG Rosenstein about Strzok”:

Defendants would not object on the basis of the Presidential Communications Privilege or the

Deliberative Process Privilege to the questions under this heading.



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Dated: October 18, 2022                Respectfully submitted,

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